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 6
                       IN THE UNITED STATES DISTRICT COURT
 7                      NORTHERN DISTRICT OF CALIFORNIA

 8
      SUHAILA FARHAT,                                 District Court case No.
 9                                                    18-cv-02273-HSG
                                         Plaintiff.
10                                                    NOTICE OF APPEARANCE AND
                                                      REQUEST FOR NOTICE ; ORDER
11    vs.
12    WELLS FARGO BANK, N.A., et al.;
13                                  Defendants.
14

15          Thomas Spielbauer, an interested person, requests that notice of all matters in

16   this case be electronically provided to him and that he be included in the electronic

17   notification matrix of this case. He provides the following email addresses for this

18   purpose: thomas@spielbauer.com and thomas@ecf.courtdrive.com.

19   Dated: December 22, 2018

20
                                 Respectfully Submitted
21                               THE SPIELBAUER LAW OFFICE

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23                                                          TA
                                 by Thomas Spielbauer, Esq.
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25   DATED: 12/26/2018                                                       DENIE
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